Case 4:21-cv-00608-ALM Document 19-1 Filed 12/29/21 Page 1 of 30 PageID #: 622




                    EXHIBIT A
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 1 Page
                                  19-1 Filed 12/29/21  Date2 Filed: 12/23/2021
                                                             of 30 PageID  #: 623




              United States Court of Appeals
                   for the Fifth Circuit                                  United States Court of Appeals
                                                                                   Fifth Circuit

                                                                                 FILED
                                                                         December 23, 2021
                                     No. 21-20022
                                                                              Lyle W. Cayce
                                                                                   Clerk

      Charles Johnson,

                                                              Plaintiff—Appellant,

                                          versus

      TheHuffingtonPost.com, Inc.,

                                                              Defendant—Appellee.


                     Appeal from the United States District Court
                         for the Southern District of Texas
                                  No. 4:20-CV-179


      Before King, Smith, and Haynes, Circuit Judges.
      Jerry E. Smith, Circuit Judge:
             Charles Johnson says the Huffington Post (“HuffPost”) libeled him
      by calling him a white nationalist and a Holocaust denier. He sued HuffPost
      in Texas. HuffPost is not a citizen of Texas and has no ties to the state. But
      its website markets ads, merchandise, and ad-free experiences to all comers.
             We must decide whether those features of HuffPost’s site grant Texas
      specific personal jurisdiction over HuffPost as to Johnson’s libel claim. They
      do not, so we affirm the dismissal and deny jurisdictional discovery.
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 2 Page
                                  19-1 Filed 12/29/21  Date3 Filed: 12/23/2021
                                                             of 30 PageID  #: 624



                                            No. 21-20022

                                                  I.
              HuffPost is a website that publishes online articles and commentary.
      It’s perhaps best known for its political coverage.
              About three years ago, HuffPost reported that Johnson had met with
      two congressmen in Washington, D.C. The story identified Johnson as a
      “noted Holocaust denier and white nationalist.” The story said nothing
      about Texas, nor did it rely on sources based in Texas or recount conduct that
      occurred in Texas.
              Displeased with the portrayal, Johnson sued HuffPost for libel in the
      Southern District of Texas. At first, Johnson based jurisdiction on his Texas
      citizenship and said that the libel had occurred in Texas. But HuffPost is a
      citizen of Delaware and New York; it has no physical ties to Texas; it has no
      office in Texas, employs no one in Texas, and owns no property there.
              To surmount that barrier, Johnson’s amended complaint stressed
      HuffPost’s online links to Texas. Johnson calls four to our attention. First,
      HuffPost’s website, which displays the alleged libel, is visible in Texas. Sec-
      ond, HuffPost sells an ad-free experience1 and merchandise to everyone,
      including Texans. Third, advertisers from Texas have contracted with Huff-
      Post to show ads on the site. And fourth, HuffPost collects information about
      its viewers, including their location, to enable advertisers to show them rele-
      vant ads. All those contacts, Johnson avers, establishes that HuffPost “has
      purposefully availed itself of the privileges of doing business in Texas.”
              HuffPost moved to dismiss for want of personal jurisdiction. In a terse
      opinion, the district court granted that motion, noting that the story did not
      concern Texas, did not use Texas sources, and was not “directed at Texas



              1
              Johnson calls this a “subscription.” But the record shows that HuffPost is free to
      read. Readers may choose to pay for an ad-free experience.




                                                  2
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 3 Page
                                  19-1 Filed 12/29/21  Date4 Filed: 12/23/2021
                                                             of 30 PageID  #: 625



                                        No. 21-20022

      residents more than residents from other states.”
             Johnson appeals. He urges that the district court erred by looking to
      the libel’s effects in the forum state rather than to the features of HuffPost’s
      website, which he says support jurisdiction in Texas. In the alternative,
      Johnson seeks discovery to support his jurisdictional claims.
             HuffPost restates that it has no physical ties to Texas and that the story
      about Johnson does not target Texas or rely on Texas in any way. It also points
      out that Johnson’s injury arises only from the story’s visibility in the forum—
      not from ads, merchandise, or ad-free experiences. And if those ties sufficed,
      HuffPost      warns,   personal   jurisdiction   would    become “universal
      jurisdiction,” allowing suit anywhere its website is visible.

                                             II.
             The dismissal was proper. Our precedents require affirmance.

                                             A.
             We review the dismissal de novo. Revell v. Lidov, 317 F.3d 467, 469 (5th
      Cir. 2002). As plaintiff, Johnson has the burden of demonstrating our juris-
      diction, id., but we must accept his uncontroverted, non-conclusory allega-
      tions of fact, Diece-Lisa Indus. v. Disney Enters., 943 F.3d 239, 249 (5th
      Cir. 2019).
             Because we are sitting in diversity and applying Texas law, we have
      jurisdiction over a nonresident defendant only to the extent consistent with
      his federal due process rights. Id. Those rights permit our jurisdiction only
      where the defendant has established enough purposeful contacts with the
      forum and where jurisdiction would comport with “traditional notions of fair
      play and substantial justice.” Revell, 317 F.3d at 470 (cleaned up).
             Johnson argues that we have claim-specific jurisdiction over HuffPost.
      We have that jurisdiction only when three conditions are met. Seiferth v.




                                             3
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 4 Page
                                  19-1 Filed 12/29/21  Date5 Filed: 12/23/2021
                                                             of 30 PageID  #: 626



                                            No. 21-20022

      Helicopteros Atuneros, Inc., 472 F.3d 266, 271 (5th Cir. 2006). First, the
      defendant must “purposefully avail[ ] itself of the privilege of conducting
      activities in the forum State.” Ford Motor Co. v. Mont. Eighth Jud. Distr. Ct.,
      141 S. Ct. 1017, 1024 (2021) (cleaned up). The defendant’s ties to the forum,
      in other words, must be ties that “the defendant himself” purposefully
      forged.2 Second, the plaintiff’s claim “must arise out of or relate to” those
      purposeful contacts.3 A defendant may have many meaningful ties to the
      forum, but if they do not connect to the plaintiff’s claim, they cannot sustain
      our power to hear it. Third, exercising our jurisdiction must be “fair and rea-
      sonable” to the defendant. Seiferth, 472 F.3d at 271.
              Those limits “derive from and reflect two sets of values—treating
      defendants fairly and protecting interstate federalism.” Ford Motor, 141 S. Ct.
      at 1025 (cleaned up). Put another way, a defendant must have “fair warning”
      that his activities may subject him to another state’s jurisdiction. Id. That
      warning permits the defendant to “structure its primary conduct to lessen or
      avoid exposure to a given State’s courts.” Id. (cleaned up). The limits on
      specific jurisdiction also “ensure that States with little legitimate interest in a
      suit” cannot wrest that suit from “States more affected by the controversy.”
      Id. (cleaned up).

                                                  B.
              In Revell, we explained how to apply those principles to cases in which
      a defendant’s website is the claimed basis for specific jurisdiction vis-à-vis an
      intentional tort. We first look to the website’s interactivity. See Revell,



              2
               Diece-Lisa, 943 F.3d at 250 (quoting Walden v. Fiore, 571 U.S. 277, 284 (2014))
      (cleaned up).
              3
                Ford Motor, 141 S. Ct. at 1025 (cleaned up); see also Bristol-Myers Squibb Co. v.
      Superior Court, 137 S. Ct. 1773, 1781 (2017) (“What is needed . . . is a connection between
      the forum and the specific claims at issue.”).




                                                  4
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 5 Page
                                  19-1 Filed 12/29/21  Date6 Filed: 12/23/2021
                                                             of 30 PageID  #: 627



                                        No. 21-20022

      317 F.3d at 470 (citing Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119,
      1124 (W.D. Pa. 1997)). If the site is passive—it just posts information that
      people can see—jurisdiction is unavailable, full stop. Id. But if the site
      interacts with its visitors, sending and receiving information from them, we
      must then apply our usual tests to determine whether the virtual contacts that
      give rise to the plaintiff’s suit arise from the defendant’s purposeful targeting
      of the forum state. See id. at 472–76.
             Like this lawsuit, Revell was an internet libel case. After deciding that
      the website in question was interactive, we looked to Calder v. Jones, 465 U.S.
      783 (1984), to determine whether the publisher had targeted the alleged libel
      at Texas. See Revell, 317 F.3d at 472–76.
             The key question, under Calder, is whether the forum state was “the
      focal point both of the [alleged libel] and of the harm suffered.” Calder,
      465 U.S. at 789. Thus, the Calder Court held that California had jurisdiction
      over two nonresident defendants because the alleged libel discussed “the Cal-
      ifornia activities of a California resident” and “was drawn from California
      sources,” “and the brunt of the harm” to the plaintiff “was suffered in
      California.” Id. at 788–89.
             Applying Calder in Revell, we dismissed for want of personal jurisdic-
      tion. The Texan plaintiff complained of an article in a Columbia University
      web publication that accused him of complicity in a terrorist attack. Colum-
      bia’s publication was interactive, we explained, because it was “an open
      forum” where users could post content and interact with others. But the
      article never mentioned Texas, never discussed Revell’s activities there, and
      was not aimed at Texans any more than at residents of other states. We
      acknowledged that the story “was presumably directed at the entire world, or
      perhaps just concerned U.S. citizens.” Revell, 317 F.3d at 475. But that did
      not suffice. For Texas to have jurisdiction, we concluded, the article had to
      target Texas specifically and knowingly. Id. Because it did not, we lacked




                                               5
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 6 Page
                                  19-1 Filed 12/29/21  Date7 Filed: 12/23/2021
                                                             of 30 PageID  #: 628



                                            No. 21-20022

      jurisdiction. Id. at 476.

                                                  C.
              Our decision in Revell requires dismissal. HuffPost is interactive, but
      its story about Johnson has no ties to Texas. The story does not mention
      Texas. It recounts a meeting that took place outside Texas, and it used no
      Texan sources. Accordingly, we lack jurisdiction over HuffPost with respect
      to Johnson’s libel claim.
              Johnson contests that conclusion. He first claims that HuffPost’s
      interactivity is all that matters. Once we decide that a website exchanges
      information with its users, he says, we must have personal jurisdiction. If
      HuffPost is interactive, Johnson thinks, it’s irrelevant whether HuffPost
      targeted Texas with the alleged libel.
              Johnson misreads our precedents. In Revell, we treated interactivity as
      a prerequisite to our standard jurisdictional inquiry. See Revell, 317 F.3d
      at 472. That position makes good sense. Interactivity reflects only a web-
      site’s capacity to avail itself of a place. Sites that solicit information, pur-
      chases, and ad clicks from their viewers can more easily reach into a forum
      and cause injury there than can sites that do not. But just because a site can
      exploit a forum does not mean that it has or that its forum contacts produced
      the plaintiff’s claim. Those requisites must be satisfied even where all the
      defendant’s ties to the forum are virtual.4
              Next, Johnson conjures that Revell is “completely different” from this
      case because HuffPost shows ads, sells merchandise, and offers an ad-free



              4
                 See Pervasive Software, Inc. v. Lexware GmbH & Co. KG, 688 F.3d 214, 227 (5th
      Cir. 2012); see also Admar Int’l, Inc. v. Eastrock, L.L.C., No. 21-30098, 18 F.4th 783, ___,
      2021 WL 5411010, at *2 (5th Cir. Nov. 19, 2021) (stressing that Zippo does not bear on
      whether the defendant’s contacts relate to the plaintiff’s claim or whether our jurisdiction
      is fair and reasonable).




                                                   6
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 7 Page
                                  19-1 Filed 12/29/21  Date8 Filed: 12/23/2021
                                                             of 30 PageID  #: 629



                                             No. 21-20022

      service “on the same page as” the alleged libel. The site in Revell, by contrast,
      solicited subscriptions on “separately navigable pages.”
              That distinction fails for two reasons. First, Johnson never pleaded it.
      His amended complaint makes clear that the only link between the alleged
      libel and HuffPost’s virtual contacts with Texas is that the libel “was pub-
      lished on the same Website.” The complaint never says or suggests that we
      have jurisdiction because HuffPost’s forum contacts sprang from the same
      webpage, rather than from the same website.
              But even if it had, the distinction is specious. Revell discounted
      Columbia’s solicitation of subscriptions because Revell’s libel claim did not
      arise from it. “For specific jurisdiction,” we explained, “we look only to the
      contact out of which the cause of action arises.” Revell, 317 F.3d at 472. And
      Revell’s claim arose only from the alleged libel, not from Columbia’s inviting
      visitors to subscribe.5
              Johnson also asserts that Revell turned on the limited interactivity of
      Columbia’s web publication. We disagree. Though we did describe Colum-
      bia’s site as having a “low level of interactivity,” Revell, id. at 476 (cleaned
      up), we held that the site was interactive because it exchanged data with its
      visitors, id. at 472. We specifically rejected the contention that Columbia’s
      website was passive and thus could not support our jurisdiction. Id.
              Johnson has put all his eggs into the interactivity basket. But under
      Revell, interactivity isn’t enough. Johnson also must show that HuffPost’s



              5
                See Revell, 317 F.3d at 472 (“For specific jurisdiction we look only to the contact
      out of which the cause of action arises—in this case the maintenance of the internet bulletin
      board [where the alleged libel was published]. Since this defamation action does not arise
      out of the solicitation of subscriptions or applications by Columbia, those portions of the
      website need not be considered.” (footnote omitted)); see also Clemens v. McNamee,
      615 F.3d 374, 379 (5th Cir. 2010) (noting that “the relevant contacts” for a defamation
      claim “are the allegedly defamatory remarks” themselves).




                                                   7
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 8 Page
                                  19-1 Filed 12/29/21  Date9 Filed: 12/23/2021
                                                             of 30 PageID  #: 630



                                        No. 21-20022

      story targeted Texas in some way. He has not done that, so he cannot prevail.

                                             III.
             Revell controls this case. But even if it did not, settled principles of
      personal jurisdiction command affirmance.
             At bottom, the only reason to hale HuffPost into Texas is that Texans
      visited the site, clicking ads and buying things there. But as far as Johnson
      has alleged, those visits reflect only HuffPost’s universal accessibility, not its
      purposeful availment of Texas. Accessibility alone cannot sustain our juris-
      diction. If it could, lack of personal jurisdiction would be no defense at all.
             The defense of personal jurisdiction exists to ensure fairness to defen-
      dants and to protect federalism. Ford Motor, 141 S. Ct. at 1025; see also World-
      Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 293 (1980). Exerting our
      power here would undermine both goals.

                                             A.
             Fairness to defendants has at least two elements. First, defendants
      must have “fair warning” that their activities could furnish jurisdiction in the
      forum. Ford Motor, 141 S. Ct. at 1025. That’s the idea behind purposeful
      availment. Where a defendant lacks suit-related ties with the forum or did
      not forge those ties himself, see Diece-Lisa, 943 F.3d at 250, he cannot reason-
      ably expect a suit there. Second, a defendant must have some chance to limit
      or avoid his exposure to the courts of a particular state. See Ford Motor,
      141 S. Ct. at 1025. That’s why a state cannot use a defendant’s forum
      contacts—even purposeful ones—to invent jurisdiction over claims that do
      not relate to or arise from those contacts.
             None of the alleged ties with Texas gives HuffPost fair warning that it
      should expect a libel suit there. Making a website that’s visible in Texas, of
      course, does not suffice. See Admar, 18 F.4th at ___, 2021 WL 5411010,
      at *4. If it could, our jurisdiction would have no limit; “a plaintiff could sue




                                              8
CaseCase: 21-20022   Document:
     4:21-cv-00608-ALM Document00516143198    Page: 9 Page
                                 19-1 Filed 12/29/21    Date
                                                           10Filed:
                                                              of 3012/23/2021
                                                                    PageID #: 631



                                                No. 21-20022

       everywhere.” Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball,
       Inc., 751 F.3d 796, 803 (7th Cir. 2014). That result would not be fair or
       consistent with defendants’ reasonable expectations. Grannies with cooking
       blogs do not, and should not, expect lawsuits from Maui to Maine.
               Johnson says that HuffPost sells merchandise to Texans. But that
       doesn’t matter. Johnson complains about a written article, not articles of
       clothing. Branded tees and coffee mugs have nothing to do with Johnson’s
       libel claim, so they cannot sustain claim-specific jurisdiction.6
               The same is true of the ads that HuffPost shows its visitors. Recall
       that Johnson alleged two ad-based ties with Texas. First, HuffPost displayed
       ads from Texas-based advertisers. Second, it used visitors’ location data to
       tailor advertising to them. So when the site detects that a user is visiting the
       site from Texas, advertisers may use that data to generate a relevant ad—such
       as the “Attention Texas Driver!” ads that no one clicks.
               The first tie is irrelevant. Johnson’s libel claim arises from the story
       declaring him a white-nationalist Holocaust denier. It does not stem from or
       relate to HuffPost’s ads or the citizenship of those placing them. See Revell,
       317 F.3d at 472.
               That point is clear in the context of print media. Suppose that some-
       one advertises a truck in the classified section of a New York newspaper. The
       paper then calls a Texan a Holocaust denier, and that Texan sues for libel.
       Should our jurisdiction turn on whether the truck’s owner was a citizen of
       Texas? Surely not. See, e.g., Hanson v. Denckla, 357 U.S. 235, 253–54 (1958).
               The second tie has the same problem. Selling ads is no different from


               6
                  See Bristol-Myers, 137 S. Ct. at 1781 (“[F]or a court to exercise specific jurisdiction
       over a claim, there must be an affiliation between the forum and the underlying controversy
       . . . . When there is no such connection, specific jurisdiction is lacking regardless of the extent
       of a defendant’s unconnected activities in the State.” (cleaned up) (emphasis added)).




                                                       9
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 10Page
                                  19-1 Filed 12/29/21   Date
                                                           11 Filed: 12/23/2021
                                                              of 30 PageID  #: 632



                                             No. 21-20022

       hawking tees and mugs. Those sales neither produced nor relate to Johnson’s
       libel claim. That relatedness problem remains even if HuffPost used location
       data to tailor ads to each visitor.
               There is another barrier: The place from which a person visits Huff-
       Post’s site is entirely beyond HuffPost’s control. Johnson never says that
       HuffPost reached beyond the site to attract Texans to it or to the story about
       Johnson. He does not say, for example, that HuffPost aimed the alleged libel
       at Texas through geotargeted ads on Facebook or Google. Instead, he alleges
       only that HuffPost showed unrelated ads to those already visiting its site.
               That point matters because “the defendant himself” must create the
       contacts that sustain the forum state’s jurisdiction.7 Because Johnson does
       not allege that HuffPost solicited Texan visits to the alleged libel, we cannot
       conclude that those visits are HuffPost’s purposeful contacts with Texas.
       Instead, those visits reflect the “unilateral activity,” Hanson, 357 U.S. at 253,
       of persons in Texas typing “huffpost.com” into their web browsers and pres-
       sing “Enter.”
               Johnson protests that ads are how HuffPost makes money. But
       whether HuffPost generates revenue by selling ads, tees, or chewing gum is
       beside the point. Johnson chose to plead a libel claim. The harm of libel is
       the reputational injury that results from the defendant’s purposefully sharing
       that libel with others. See Walden v. Fiore, 571 U.S. 277, 288 (2014). It does
       not turn on whether the defendant’s unrelated activities make or lose money.
               What matters is whether HuffPost aimed the alleged libel at Texas.8



               7
                  Diece-Lisa, 943 F.3d at 250 (cleaned up); see also Walden, 571 U.S. at 286 (“Due
       process requires that a defendant be haled into court in a forum State based on his own
       affiliation with the State, not based on the random, fortuitous, or attenuated contacts he
       makes by interacting with other persons affiliated with the State.” (cleaned up)).
               8
                   See, e.g., Clemens, 615 F.3d at 380 (“[T]he question [is] whether McNamee’s




                                                   10
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 11Page
                                  19-1 Filed 12/29/21   Date
                                                           12 Filed: 12/23/2021
                                                              of 30 PageID  #: 633



                                               No. 21-20022

       Third-party ads on HuffPost’s site reflect no such aiming. They neither
       caused nor relate to the harm that the story caused. They do not drive Texans
       to the site or even to the alleged libel. Instead, they direct Texans away from
       the site, to third-party advertisers. And HuffPost shows ads to all comers; it
       treats Texans like everyone else. To target every user everywhere, as those
       ads do,9 is to target no place at all.10
               We can translate that point to a physical context. Liken HuffPost’s
       website for a physical store in New York, where HuffPost is “at home.”11 A
       resident of Texas visits the store, peruses the aisles, and speaks with a sales-
       person. She tells the salesperson that she is from Texas and describes what
       she would like to buy. After determining that the customer wants something
       that the store does not sell, the salesperson refers her to a shop down the
       street, earning a few cents from that shop for the favorable reference.
               That interaction, if Johnson were correct, would allow a different


       allegedly defamatory statements were aimed at or directed to Texas.”); Herman v.
       Cataphora, Inc., 730 F.3d 460, 465 (5th Cir. 2013) (“In applying the Calder analysis, we
       have emphasized the importance of the ‘focal point’ language . . . . [F]or minimum con-
       tacts to be present the allegedly defamatory statements must be adequately directed at the
       forum state.” (citation omitted)).
               9
                  Johnson’s own exhibits show that HuffPost collects location data from every
       visitor, no matter where he resides.
               10
                  See Revell, 317 F.3d at 475 (“[O]ne cannot purposefully avail oneself of ‘some
       forum someplace’; rather, as the Supreme Court has stated, due process requires that the
       defendant’s conduct and connection with the forum State are such that he should reason-
       ably anticipate being haled into court there.” (cleaned up)); see also Old Republic Ins. Co. v.
       Cont’l Motors, Inc., 877 F.3d 895, 915–18 (10th Cir. 2017).
               11
                  Of course, websites, like emails, are commonly understood to have no physical
       location at all. Cf. Advanced Tactical, 751 F.3d at 803. Creating a website is not like erecting
       billboards in all fifty states; that act cannot give every place power to hear claims about what
       the website displays. For that reason, it makes more sense to see a website as a physical
       site or store where the defendant resides. The defendant surely can expect suit there, see
       Daimler AG v. Bauman, 571 U.S. 117, 122 (2014), and elsewhere he purposefully targets
       with the conduct that induces the plaintiff’s suit.




                                                     11
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 12Page
                                  19-1 Filed 12/29/21   Date
                                                           13 Filed: 12/23/2021
                                                              of 30 PageID  #: 634



                                               No. 21-20022

       Texan to sue HuffPost in Texas over a tort at the New York store. That can’t
       be right. Of course, jurisdiction might exist if HuffPost aimed the tort at
       Texas in some way.12 Or perhaps it might exist if HuffPost had reached into
       Texas to solicit the plaintiff’s visit, without which the tort could not have
       occurred.13 But absent ties of that sort—ties that link HuffPost’s tort to
       Texas—we could not drag HuffPost to Texas to answer for it. See, e.g.,
       Walden, 571 U.S. at 291. Fair warning to HuffPost would be entirely absent.
               Fairness also dictates that a defendant must have some chance to limit
       or avoid its exposure to a particular state’s courts. See Ford Motor, 141 S. Ct.
       at 1025. The Supreme Court has read that principle as the inverse of the
       purposeful-availment requirement: Just as jurisdiction is proper when a
       defendant intentionally creates suit-related contacts with the forum, jurisdic-
       tion is absent where a defendant does not reach, or has ceased to reach, into
       the forum state in that way. See World-Wide, 444 U.S. at 297–99.
               That principle does not require defendants to wall themselves off from
       the world. A hospital need not deny care to nonresident patients to avoid
       jurisdiction where those patients reside.14 A resort need not bar nonresident



               12
                   See Walden, 571 U.S. at 287 (“[In Calder,] we examined the various contacts the
       defendants had created with California (and not just with the plaintiff) by writing the
       allegedly libelous story.”) (emphasis added).
               13
                  Cf. Shute v. Carnival Cruise Lines, 897 F.2d 377, 379 (9th Cir. 1990), rev’d on other
       grounds, 499 U.S. 585 (1991). In Shute, a Florida cruise line advertised a Mexican cruise in
       Washington. A Washington resident booked the cruise, during which she suffered injuries
       due to the cruise line’s negligence. The Ninth Circuit held that a Washington court could
       hear her claim because the cruise line had reached into the state to solicit the trip that
       allegedly injured her. Id. at 382. Our circuit has not endorsed Shute’s broad view of specific
       jurisdiction. See Inmar Rx Sols. v. Devos, Ltd., 786 F. App’x 445, 449 n.2 (5th Cir. 2019)
       (per curiam).
               14
                  See, e.g., Harlow v. Children’s Hosp., 432 F.3d 50, 68–69 (1st Cir. 2005); Frazier
       v. Univ. of Miss. Med. Ctr., No. 16-CV-976, 2017 U.S. Dist. LEXIS 161842, at *13–15 (S.D.
       Miss. Oct. 2, 2017) (same).




                                                     12
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 13Page
                                  19-1 Filed 12/29/21   Date
                                                           14 Filed: 12/23/2021
                                                              of 30 PageID  #: 635



                                            No. 21-20022

       travelers to avoid jurisdiction in their home states when those travelers eat
       tainted food at the resort, take ill, and sue after returning home.15 Likewise,
       HuffPost need not block Texans from visiting its site, receiving relevant
       advertising, or buying T-shirts to escape the ability of Texas courts to hear
       Johnson’s libel claim.
               Instead, that principle means that HuffPost may avoid the authority of
       Texas’s courts by not purposefully directing at Texas the conduct that pro-
       duced Johnson’s suit. Because HuffPost did not aim the alleged libel at Texas
       or reach into Texas to share it there, we cannot hear Johnson’s libel claim.

                                                 B.
               Limits on personal jurisdiction also protect interstate federalism. Ford
       Motor, 141 S. Ct. at 1025. Hearing Johnson’s claim would undermine that.
               Personal jurisdiction comes in two flavors: general and specific.
       Unlike claim-specific jurisdiction, general jurisdiction does not demand that
       the plaintiff’s claims arise from the defendant’s forum ties. See Goodyear
       Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). But for a
       state to have the power to hear claims against a defendant, the defendant’s
       ties with the state must be so pervasive that he is “essentially at home” there.
       Id. That is a high bar, which Johnson concedes he cannot meet.
               Claim-specific jurisdiction is different. As we have explained, it may
       arise only from the defendant’s forum ties that relate to the plaintiff’s claim.
       One reason for that limit is to respect federalism. When one state tries a suit,
       it “may prevent sister States from exercising their like authority,” even when
       those states have a greater interest in the dispute. Ford Motor, 141 S. Ct.
       at 1025 (cleaned up).



               15
               See, e.g., Moon v. Sandals Resorts Int’l, Ltd., No. 13-cv-00134, 2013 U.S. Dist.
       LEXIS 203230, at *10–11 (W.D. Tex. Dec. 27, 2013).




                                                 13
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 14Page
                                  19-1 Filed 12/29/21   Date
                                                           15 Filed: 12/23/2021
                                                              of 30 PageID  #: 636



                                              No. 21-20022

               That federalism interest carries enormous weight. It may preclude our
       power even when all other factors—the burden on the defendant, the forum
       state’s interest in applying its own law, and the convenience of the forum—
       strongly favor our jurisdiction.16
               Exercising jurisdiction over HuffPost would collapse the distinction
       between specific and general jurisdiction. If marketing ads, merchandise, and
       ad-free experiences to all visitors can create jurisdiction over a website with
       respect to an unrelated libel claim, we can imagine few claims against a web-
       site that would fall beyond the reach of “claim-specific” jurisdiction.17
               Erasing the line between specific and general jurisdiction as Johnson
       proposes would vitiate the sovereign interests of the states where defendants
       like HuffPost are “at home.” General jurisdiction for every state where Huff-
       Post is visible would destroy its meaning for HuffPost’s home states, to whom
       that awesome power is properly reserved.18 If Johnson wants to sue HuffPost
       without showing that HuffPost aimed its suit-related conduct at the place
       where he sues, he may sue HuffPost in Delaware or New York, where the site
       is at home. See Bristol-Myers, 137 S. Ct. at 1783.




               16
                See World-Wide, 444 U.S. at 293–94; see also Bristol-Myers, 137 S. Ct. at 1780–81;
       Ford Motor, 141 S. Ct. at 1025.
               17
                   It is not even clear that Johnson’s theory would limit Texas’s power to claims
       that arise from HuffPost’s website. Suppose that a HuffPost employee, while chasing down
       a story outside Texas, crashes his car into a citizen of Texas. Could that victim sue Huff-
       Post in Texas? Under Johnson’s theory, we see no reason why he could not. If selling tees
       and mugs to Texans can support our jurisdiction over HuffPost with respect to a libel claim
       unrelated to those items, that virtual activity likewise could sustain our power to hale Huff-
       Post to Texas to answer for a physical tort that harms a Texan elsewhere.
               18
                  See Ford Motor, 141 S. Ct. at 1025 (“One State’s sovereign power to try a suit, we
       have recognized, may prevent sister States from exercising their like authority.” (cleaned
       up)); cf. The Incredibles (Walt Disney Pictures 2004) (“Syndrome: ‘And when
       everyone’s super, . . . no one will be.’”).




                                                    14
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 15Page
                                  19-1 Filed 12/29/21   Date
                                                           16 Filed: 12/23/2021
                                                              of 30 PageID  #: 637



                                               No. 21-20022

                                                    IV.
               The well-crafted dissent says we have disregarded binding precedent
       “because we disagree with its policy implications” for our increasingly vir-
       tual world. To the contrary, we apply longstanding, uncontroversial limits
       on personal jurisdiction. We may not discard those limits just because the
       defendant operates a website.19 Yet the dissent, we fear, would strip the
       shields of relatedness and purposeful availment from virtual defendants.

                                                     A.
               Let’s turn first to relatedness. Our distinguished dissenting colleague
       posits that Ford Motor would authorize our jurisdiction here: Ford Motor
       “made clear that the state in which an injury occurred can exercise specific
       personal jurisdiction over a defendant if the defendant deliberately engaged
       in commercial activities in that state.”
               Though Ford Motor did reject a strict causal theory of relatedness, it
       did not say that “anything goes.” Ford Motor, 141 S. Ct. at 1026. Quite the
       contrary. For specific jurisdiction, a plaintiff must link the defendant’s suit-
       related conduct to the forum. Mere market exploitation will not suffice.
               Review Ford Motor’s facts. Ford regularly advertised, sold, and ser-
       viced cars in Montana and Minnesota. Customers in each state sued after
       their Ford cars injured them. Though Ford sold those car models in both
       states, Ford claimed that those sales did not relate to the plaintiffs’ claims
       because it had sold in other states the specific cars that injured the plaintiffs.
       In other words, Ford demanded a strict causal link between the forum states
       and the plaintiffs’ cars. See id. at 1022–24.




               19
                   See Admar, 18 F.4th at ___, 2021 WL 5411010, at *2 (“The analysis applicable
       to a case involving jurisdiction based on the Internet should not be different at its most basic
       level from any other personal jurisdiction case.” (cleaned up)).




                                                     15
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 16Page
                                  19-1 Filed 12/29/21   Date
                                                           17 Filed: 12/23/2021
                                                              of 30 PageID  #: 638



                                               No. 21-20022

               After rejecting that unduly narrow view, the Court stressed that the
       plaintiffs still had to show that Ford’s forum contacts related to their claims.
       The plaintiffs did show that, the Court said, because Ford sold the injurious
       models in Montana and Minnesota.20 That link—between the products that
       injured the plaintiffs and Ford’s selling those products in the forum states—
       supported specific jurisdiction.21
               Ford Motor does not say, as the dissent suggests, that any “commercial
       activities in a state” support specific jurisdiction over a defendant there. The
       only relevant activities of the defendant are those that relate to the plaintiff’s
       suit. That crucial link is missing here. Johnson contends that HuffPost’s
       unrelated activities—selling merch and showing ads to every visitor—can
       support personal jurisdiction over HuffPost with respect to his libel claim.
       That, Ford Motor shows, is a bridge too far.

                                                     B.
               Next, the dissent insists that Keeton v. Hustler Magazine, Inc., 465 U.S.
       770 (1984), dictates that we have personal jurisdiction over HuffPost. But
       woodenly applying Keeton to internet publications, as the dissent suggests,
       would vitiate the requirement that a defendant purposefully avail himself of
       the forum state before he may be haled into court there.
               Keeton, a libel case, authorized specific jurisdiction over Hustler Mag-
       azine in New Hampshire because it mailed tens of thousands of libelous mag-
       azines there. The instant dissent thinks this case is much the same. HuffPost



               20
                  See Ford Motor, 141 S. Ct. at 1028 (“Ford had systematically served a market in
       Montana and Minnesota for the very vehicles that the plaintiffs allege malfunctioned and injured
       them in those States.” (emphasis added)).
               21
                    Id.; see also id. at 1030 (“An automaker regularly marketing a vehicle in a State
       . . . has ‘clear notice’ that it will be subject to jurisdiction in the State’s courts when the
       product malfunctions there . . . .” (quoting World-Wide, 444 U.S. at 297)).




                                                     16
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 17Page
                                  19-1 Filed 12/29/21   Date
                                                           18 Filed: 12/23/2021
                                                              of 30 PageID  #: 639



                                             No. 21-20022

       is a publisher too, she explains, and “has fulsome circulation in Texas”; that
       should resolve this case. The fact that HuffPost has a website, rather than a
       print magazine, she says, should not matter a whit.
               We agree with that last observation. Our personal-jurisdiction inquiry
       should not change just because a defendant operates a web publication
       instead of a physical one. See Admar, 18 F.4th at ___, 2021 WL 5411010,
       at *2. But that’s why we cannot transpose Keeton to the Internet without
       invoking first principles. Like Calder and the rest of the Court’s specific-
       jurisdiction cases, Keeton applied the requisites of specific jurisdiction—
       purposeful availment, relatedness, and fairness to defendants—in a particu-
       lar context. It did not forge an iron law of specific jurisdiction for all pub-
       lishers in all mediums.
               Keeton stressed the substantial physical circulation of print media be-
       cause that reflects purposeful availment of the forum state. See Walden,
       571 U.S. at 285 (noting that Keeton addresses a defendant’s “physical entry”
       into the forum). Sending tens of thousands of magazines to a state is an
       affirmative act that displays the publisher’s specific intent to target that state
       with what the magazines contain. That’s why Keeton concluded, 465 U.S.
       at 781, that Hustler had “continuously and deliberately exploited the New
       Hampshire market” by sending magazines there. That also explains why the
       Keeton Court had no trouble linking Hustler’s suit-related conduct to New
       Hampshire.22
               The challenge here, which the dissent does not squarely confront, is
       that websites are different. To circulate a print magazine, the publisher must
       send it somewhere. But websites are “circulated” to the public by virtue of



               22
                  Cf. Calder, 465 U.S. at 790 (“An individual injured in California need not go to
       Florida to seek redress from persons who, though remaining in Florida, knowingly cause
       the injury in California.”).




                                                   17
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 18Page
                                  19-1 Filed 12/29/21   Date
                                                           19 Filed: 12/23/2021
                                                              of 30 PageID  #: 640



                                                No. 21-20022

       their universal accessibility, which exists from their inception. That’s why
       clicks, visits, and views from forum residents cannot alone show purposeful
       availment. They are not evidence that “the defendant has formed a contact
       with the forum state.” Advanced Tactical, 751 F.3d at 803.
               We again stress that Johnson pleaded no facts showing that HuffPost
       aimed the alleged libel or its website at Texas. Johnson identifies only one
       link to Texas that relates to the dispute before us: the fact that HuffPost’s
       website and the alleged libel are visible in Texas. But mere accessibility can-
       not demonstrate purposeful availment, as we and our sister circuits have held
       many times.23 Though HuffPost’s site shows ads and sells merchandise,
       neither act targets Texas specifically. And even if those acts did target Texas,
       neither relates to Johnson’s claim, so neither supports specific jurisdiction.24
               At bottom, the dissent urges that we have power over HuffPost be-
       cause it erected a website where Texans can visit and click ads. Accepting
       that position would give us unlimited jurisdiction over virtual defendants—
       and not just our cooking-blog granny. A rising YouTube star enables adver-
       tising on his channel, then libels someone in a video he posts there. If the
       dissent is right, all fifty states may hale him into court to answer for it. But
       our law is clear that more is needed to protect due process. How much more
       is a question for another day.




               23
                  See, e.g., Admar, 18 F.4th at ___, 2021 WL 5411010, at *4 (“Merely running a
       website that is accessible in the forum state does not constitute the purposeful availment
       required to establish personal jurisdiction . . . .”); id. at *3 (collecting cases from three other
       circuits).
               24
                  Cf. Keeton, 465 U.S. at 779–80 (“[Hustler’s] activities in the forum may not be
       so substantial as to support jurisdiction over a cause of action unrelated to those activities.
       But [Hustler] is carrying on a ‘part of its general business’ in New Hampshire, and that is
       sufficient to support jurisdiction when the cause of action arises out of the very activity being
       conducted, in part, in New Hampshire.” (emphasis added) (footnote omitted)).




                                                       18
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 19Page
                                  19-1 Filed 12/29/21   Date
                                                           20 Filed: 12/23/2021
                                                              of 30 PageID  #: 641



                                         No. 21-20022

                                              V.
              Having failed to plead an adequate basis for our jurisdiction, Johnson
       asks us to let him fish for facts to support it. We will not.
              To merit jurisdictional discovery, Johnson must show that it is “likely
       to produce the facts needed to withstand” dismissal. Davila v. United States,
       713 F.3d 248, 264 (5th Cir. 2013) (cleaned up). He must make clear which
       “specific facts” he expects discovery to find. Bell Helicopter Textron, Inc. v.
       Am. Eurocopter, LLC, 729 F. Supp. 2d 789, 797 (N.D. Tex. 2010). We will not
       authorize “a jurisdictional fishing expedition” based on a plaintiff’s general
       averments that more discovery will prove our jurisdiction. Id. at 798.
              The district court denied jurisdictional discovery; we review that rul-
       ing for abuse of discretion. Davila, 713 F.3d at 264. Johnson has not met his
       burden. He has not alleged specific facts that discovery will prove. Instead,
       he says that discovery would determine “the extent” of the activities that we
       already have said cannot support jurisdiction. We see no reason to confirm
       Johnson’s allegations with discovery when they cannot sustain our power as
       a matter of law. See Seiferth, 472 F.3d at 277.

                                        * * * * *
              The Constitution permits specific jurisdiction only where the defen-
       dant himself purposefully creates the forum contacts from which the plain-
       tiff’s claims arise. And as to a libel claim, a website selling ads, merchandise,
       and ad-free experiences to all comers is not enough.
              AFFIRMED.




                                               19
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 20Page
                                  19-1 Filed 12/29/21   Date
                                                           21 Filed: 12/23/2021
                                                              of 30 PageID  #: 642



                                             No. 21-20022


       Haynes, Circuit Judge, dissenting:
               Just this year, the Supreme Court made clear that the state in which
       an injury occurred can exercise specific personal jurisdiction over a
       defendant if the defendant deliberately engaged in commercial activities in
       that state. Ford Motor Co. v. Mont. Eighth Jud. Dist., 141 S. Ct. 1017, 1025–27
       (2021). Earlier decisions followed that same path. See, e.g., Daimler AG v.
       Bauman, 571 U.S. 117, 127 n.5 (2014); World-Wide Volkswagen Corp. v.
       Woodson, 444 U.S. 286, 297–98 (1990); Asahi Metal Indus. Co. v. Super. Ct. of
       Cal., Solano Cnty., 480 U.S. 102, 112 (1987).
               This case involves a Texas citizen (Johnson) who claims to have been
       libeled by TheHuffingtonPost.com, Inc. (“HuffPost”), bringing suit in
       Texas.1 As a citizen of Texas, Johnson, of course, suffered injury in Texas as
       a result of his citizenship there. The question then becomes what connection
       HuffPost has to Texas relative to this incident. The majority opinion finds
       no sufficient connection.         Concerned about the expansion of personal
       jurisdiction in the age of digital media, the majority opinion ignores the
       Supreme Court’s recent decision in Ford Motor. Worse, the majority opinion
       all but nullifies the Supreme Court’s decision in Keeton v. Hustler Magazine,
       Inc., 465 U.S. 770 (1984), and our own court’s decision in Fielding v. Hubert
       Burda Media, Inc., 415 F.3d 419 (5th Cir. 2005).
               The reality of the modern world is that printed newspapers are far less
       common than virtual ones. But just as we are bound to apply constitutional
       provisions to modern situations—often, unimaginable to the founders—we
       are bound to apply Supreme Court and circuit precedent. Therein lies my
       disagreement with the majority opinion. Because I believe that modernity




               1
                 Obviously, we do not know the actual truth of the facts asserted here, but I will
       assume the plaintiff’s claims to be valid for purposes of the jurisdictional analysis.
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 21Page
                                  19-1 Filed 12/29/21   Date
                                                           22 Filed: 12/23/2021
                                                              of 30 PageID  #: 643



                                         No. 21-20022


       does not excuse our obligation to apply existing legal frameworks, I
       respectfully dissent.
              To be subject to specific personal jurisdiction in Texas, HuffPost must
       have “purposefully avail[ed]” itself of the benefits of conducting activities in
       Texas, and Johnson’s claim must “arise out of or relate to” those activities.
       Ford Motor Co., 141 S. Ct. at 1025 (quotations omitted).
              But how do we analyze the virtual world instead of the physical
       automobiles at issue in Ford Motor? In Mink v. AAAA Development LLC, 190
       F.3d 333 (5th Cir. 1999), our court adopted the Zippo test for determining
       personal jurisdiction over websites. Id. at 336. Zippo categorized websites
       into three types:
              (1) websites that merely passively advertise—which
              categorically do not establish personal jurisdiction;
              (2) websites that facilitate contracting and repeated file
              transfers—which categorically do; and
              (3) websites with other degrees of user interaction—which can
              go either way, depending on the “level of interactivity” and the
              “commercial nature of the exchange.”
       Id. (quoting Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119, 1124
       (W.D. Pa. 1997)).
              I agree with the majority opinion that the HuffPost website falls under
       Zippo category three, requiring us to determine the level of interactivity,
       which in turn requires us to assess specific personal jurisdiction as it relates
       to the alleged libel itself. See Revell v. Lidov, 317 F.3d 467, 470–76 (5th Cir.
       2002). There are two ways to do that. As we explained in Fielding:
              Specific jurisdiction for a suit alleging the intentional tort of
              libel exists for (1) a publication with adequate circulation in the
              state, Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 773–74
              (1984), or (2) an author or publisher who “aims” a story at the




                                              21
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 22Page
                                  19-1 Filed 12/29/21   Date
                                                           23 Filed: 12/23/2021
                                                              of 30 PageID  #: 644



                                         No. 21-20022


              state knowing that the “effects” of the story will be felt there.
              Calder v. Jones, 465 U.S. 783, 789–90 (1984).
       415 F.3d at 425. So, our precedent requires an examination of the differences
       between Keeton and Calder.
              In Keeton, the plaintiff sued Hustler Magazine in New Hampshire over
       an allegedly libelous article. 465 U.S. at 772. The plaintiff was a New York
       citizen; Hustler Magazine was “an Ohio corporation with its principal place
       of business in California.” Id. The article had nothing to do with New
       Hampshire, and the plaintiff’s “only connection with New Hampshire was
       the circulation of Hustler Magazine in the state.” Id. (emphasis added). So
       why’d she sue in New Hampshire? Because New Hampshire had an
       “unusually long statute of limitations,” making it “the only State where
       petitioner’s suit would not have been time-barred when it was filed.” Id. at
       773, 775. Put another way, the case had nothing to do with New Hampshire,
       and, unlike this case, New Hampshire didn’t even have an interest in hearing
       the case due to an injury to one of its citizens. Seeing such an inconsequential
       connection to the forum, the First Circuit affirmed dismissal for lack of
       personal jurisdiction, explaining that “the New Hampshire tail is too small
       to wag so large an out-of-state dog.” Id. at 772.
              The Supreme Court reversed. Its decision turned on the following
       facts: Hustler Magazine circulated between 10,000 and 15,000 copies of its
       magazine in New Hampshire per month, and that circulation was not
       “random, isolated, or fortuitous”—it was purposeful.            Id. at 772–74.
       Jurisdiction over Hustler Magazine was therefore appropriate, the Court
       held, because “regular circulation of magazines in the forum State is
       sufficient to support an assertion of jurisdiction in a libel action based on the
       contents of the magazine.” Id. at 773–74. As for fairness to the defendant,
       the Court saw no concern: “Certainly Hustler Magazine, Inc., which chose
       to enter the New Hampshire market, can be charged with knowledge of its
       laws and no doubt would have claimed the benefit of them if it had a


                                              22
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 23Page
                                  19-1 Filed 12/29/21   Date
                                                           24 Filed: 12/23/2021
                                                              of 30 PageID  #: 645



                                       No. 21-20022


       complaint against a subscriber, distributor, or other commercial partner.” Id.
       at 779. When a publication “continuously and deliberately exploit[s] [a]
       market, it must reasonably anticipate being haled into court there in a libel
       action based on the contents of its magazine.” Id. at 781. This analysis
       sounds very similar to that of Ford Motor, albeit a different form of
       “exploitation of a market.”
              On the same day it decided Keeton, the Supreme Court issued a
       jurisdictional decision in another libel case, Calder. Again, the Court held
       that specific personal jurisdiction existed, but for a very different reason.
       Jones, the plaintiff, sued the National Enquirer, its local distributing
       company, and two employees of the Enquirer in California over an allegedly
       libelous article. Calder, 465 U.S. at 785–86. Jones was a California resident,
       the National Enquirer was a Florida corporation with its principal place of
       business in Florida, and the employees were both Florida residents. Id.
              Circulation of the Enquirer in California was certainly substantial—
       the Enquirer circulated 600,000 copies every week, “almost twice the level
       of the next highest State.” Id. at 785. But the Court fashioned a different
       test: Specific personal jurisdiction was appropriate if the effects of
       defendants’ conduct are felt in the forum state. The Court explained:
              The allegedly libelous story concerned the California activities
              of a California resident. It impugned the professionalism of an
              entertainer whose television career was centered in California.
              The article was drawn from California sources, and the brunt
              of the harm, in terms both of respondent’s emotional distress
              and the injury to her professional reputation, was suffered in
              California. In sum, California is the focal point both of the
              story and of the harm suffered. Jurisdiction over petitioners is
              therefore proper in California based on the “effects” of their
              Florida conduct in California.
       Id. at 788–89 (footnote omitted).




                                            23
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 24Page
                                  19-1 Filed 12/29/21   Date
                                                           25 Filed: 12/23/2021
                                                              of 30 PageID  #: 646



                                        No. 21-20022


              Why the different outcomes? Well, the Court faced an entirely
       different situation in Calder than it did in Keeton. In Calder, the National
       Enquirer (the publication in which the libel was printed) didn’t contest
       jurisdiction. Id. at 785. Instead, the two employees who authored the
       statement and approved its publication objected to personal jurisdiction, and
       the Court explained that “their contacts with California” could not “be
       judged according to their employer’s activities there.” Id. at 785–86, 789–
       90. Put differently, because personal jurisdiction requires an assessment of a
       defendant’s relationship to the forum, the nature of the defendant matters
       when deciding whether the requirements of personal jurisdiction are
       satisfied, and an author’s connections to a state will inherently be different
       than a publication’s connections.
              Indeed, that is exactly what our court in Fielding recognized: that the
       Supreme Court articulated two different rules that turned on the nature of
       the defendant in a libel case. See 415 F.3d at 425. If the defendant alleging
       lack of personal jurisdiction is a publication (like Hustler Magazine in
       Keeton), then personal jurisdiction is appropriate when that publication is in
       “substantial circulation” and that circulation is not “random, isolated, or
       fortuitous.” See id. (quotation omitted). If the defendant alleging a lack of
       personal jurisdiction is the author or the individual approving publication
       (like the employees in Calder), then personal jurisdiction is appropriate when
       the effect of the defendant’s conduct is felt in the forum state. See id.
              Note that the Court could not have reached its decisions in both
       Keeton and Calder if these two different rules did not exist. If only the Keeton
       substantial circulation test existed, then Calder makes no sense—how can
       two people be in “substantial circulation”? If only the Calder effects test
       existed, then Keeton was wrongly decided—again, the article had absolutely
       nothing to do with New Hampshire.           Each test addressed a different
       situation.



                                             24
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 25Page
                                  19-1 Filed 12/29/21   Date
                                                           26 Filed: 12/23/2021
                                                              of 30 PageID  #: 647



                                            No. 21-20022


              I now address how these precedents apply in our case. Johnson sued
       HuffPost, a publication, not the author of the article.2 The Keeton test
       therefore applies. HuffPost has fulsome circulation in Texas, and its presence
       in Texas was not “random, isolated, or fortuitous.” Far from it: HuffPost
       actively exploited the forum through Texas-specific advertising. As in
       Keeton, HuffPost “continuously and deliberately exploit[s]” the Texas
       market, so it should not be surprised if it is “haled into court there” for
       allegations of libel. 465 U.S. at 781. As in Keeton, it doesn’t matter that the
       article did not expressly address Texas. As in Keeton, jurisdiction exists.
              Other precedents do not mandate a different outcome. In Clemens v.
       McNamee, 615 F.3d 374 (2010), Calder was applied because the defendant
       was the author of the allegedly defamatory statement (Brian McNamee)—
       not the publication (Sports Illustrated). See id. at 377, 379. The same was
       true in Herman v. Cataphora, Inc., 730 F.3d 460 (5th Cir. 2013). The
       defendants were the author of the allegedly defamatory statement (Roger
       Chadderdon) and his employer (Cataphora, Inc.); not the publication (Above
       the Law). Id. at 462–65.
              Revell involved a different factual scenario. As explained above, the
       facts of Keeton do not arise in every libel case. Keeton applies when: (1) the
       defendant is a publication; (2) the publication has substantial circulation in
       the state; and (3) that circulation isn’t “random, isolated, or fortuitous” (i.e.,
       the publication must have meant for that substantial circulation to happen in
       that state). 465 U.S. at 772–74. So when an online bulletin board post at
       Columbia University is just accessed by a Texas resident (as was the case in
       Revell), Keeton plainly didn’t apply. Revell, 317 F.3d at 469. Revell makes no



              2
                 The byline of the article lists Andy Campbell as the author, not HuffPost. See
       Andy Campbell, 2 GOP Lawmakers Host Chuck Johnson, Holocaust-Denying White
       Nationalist, HUFFPOST (Jan. 17, 2019), https://www.huffpost.com/entry/gop-reps-host-
       chuck-johnson-holocaust-denying-white-nationalist_n_ 5c40944be4b0a8dbe16e670a.



                                                 25
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 26Page
                                  19-1 Filed 12/29/21   Date
                                                           27 Filed: 12/23/2021
                                                              of 30 PageID  #: 648



                                               No. 21-20022


       mention that the bulletin board was in “substantial circulation” in Texas, and
       even if it was, there’s nothing to suggest that Columbia meant it to be, unlike
       here where HuffPost happily makes money advertising Texas-specific goods
       and services. Keeton did not apply because mere accessibility of a publication
       cannot trigger it.
               Unfortunately, the majority opinion does not once cite to Fielding and
       applies “first principles” to contend that Keeton is limited to a bygone era. It
       insists that only Calder is a relevant precedent. Is it accurate to limit Keeton
       to print publications while applying Calder to websites? Of course not.
       Calder and Keeton both involved print publications, not websites in the 1984
       era when websites for the vast majority of people were non-existent and
       largely unknown. We cannot, then, say that one decision from the pre-
       website era applies in modern times while the other doesn’t.
               On the surface, the majority opinion seems to agree, twice citing to a
       recent Fifth Circuit case for the proposition that “[t]he analysis applicable to
       a case involving jurisdiction based on the Internet should not be different at
       its most basic level from any other personal jurisdiction case.” Admar Int’l,
       Inc. v. Eastrock, L.L.C., 18 F.4th 783, __ (5th Cir. 2021). But then it
       confusingly contends that the dissenting opinion fails to “squarely
       confront . . . that websites are different.” Majority Op. at 18.
               But neither our own court nor our sister courts have distinguished
       Keeton on the grounds that “websites are different.” In fact, the First,
       Second, Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits have all
       analyzed Keeton in cases concerning the internet—none have restricted
       application of Keeton to print publications.3 As the Tenth Circuit observed:



               3
                 See, e.g., Plixer Int’l, Inc. v. Scrutinizer GmbH, 905 F.3d 1, 10–11 (1st Cir. 2018);
       Best Van Lines, Inc. v. Walker, 490 F.3d 239, 241, 243 (2d Cir. 2007); uBID, Inc. v. GoDaddy
       Grp., Inc., 623 F.3d 421, 427–28 (7th Cir. 2010); Steinbuch v. Cutler, 518 F.3d 580, 584, 586



                                                     26
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 27Page
                                  19-1 Filed 12/29/21   Date
                                                           28 Filed: 12/23/2021
                                                              of 30 PageID  #: 649



                                             No. 21-20022


       “Some circuit courts have applied the Keeton analysis in cases where the out-
       of-state defendant’s only contacts with the forum state occurred over the
       internet . . . .” Old Republic Ins. Co. v. Cont’l Motors, Inc., 877 F.3d 895, 906
       (10th Cir. 2017) (emphasis added).
               If the majority opinion restricts Keeton in such a way, it would be
       creating a circuit split. It would also impose the very causal requirement that
       the Supreme Court so recently rejected. Nominally, the majority opinion
       recognizes that it must adhere to Ford Motor, but in actuality, the majority
       opinion seems to suggest that only if the (extensive) Texas-based advertising
       caused the lawsuit might there be jurisdiction. See Majority Op. at 9 (“It does
       not stem from or relate to HuffPost’s ads or the citizenship of those placing
       them.”).
               In addition to ignoring the fact that there was no causation in Keeton
       either (there was nothing tying New Hampshire to the libel), the majority
       opinion overlooks just how close this case is to Ford Motor. Just like Ford,
       HuffPost regularly sold its products and advertised in the forum state. Just
       like Ford, a consumer of HuffPost’s core product (the newspaper) was
       injured by that product. Ford claimed that because it did not make the
       specific cars that led to injury in Montana or Minnesota, it shouldn’t be
       subject to litigation in Montana or Minnesota. Similarly, HuffPost argues
       that because it did not write the specific article that contains the alleged libel
       in Texas, it shouldn’t be subject to litigation in Texas. The Court rejected
       that argument in Ford Motor because, as the majority opinion explains: “That
       link—between the products that injured the plaintiffs and Ford’s selling those
       products in the forum states—supported specific jurisdiction.” Majority Op.
       at 15–16 (footnote and citation omitted). We should reject HuffPost’s


       (8th Cir. 2008); Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th 972, 977, 981 (9th Cir. 2021);
       Old Republic Ins. Co. v. Cont’l Motors, Inc., 877 F.3d 895, 900, 914–15 (10th Cir. 2017);
       Licciardello v. Lovelady, 544 F.3d 1280, 1285–86 (11th Cir. 2008).



                                                  27
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 28Page
                                  19-1 Filed 12/29/21   Date
                                                           29 Filed: 12/23/2021
                                                              of 30 PageID  #: 650



                                          No. 21-20022


       argument for that same reason: That link—between the article that injured
       Johnson (who is in Texas) and HuffPost purposely circulating articles to
       Texas—supports specific jurisdiction.
              There also appears to be some confusion regarding the position this
       dissenting opinion takes. The majority opinion incorrectly suggests that my
       “position would give us unlimited jurisdiction” because the only connection
       HuffPost has in Texas is that “Texans can visit [it] and click ads.” Majority
       Op. at 18. That’s not at all my position. Here, HuffPost is purposefully in
       wide circulation in Texas and specifically targets Texans with Texas-specific
       ads. Thus, we should not, and I do not, consider the issue of jurisdiction over
       a similar company spouting only generalized, national-level advertisements
       (though, again, Keeton did not involve New Hampshire–specific materials).
              Yet, the majority opinion ignores that distinction. “Grannies with
       cooking blogs,” the majority opinion warns, “should not, expect lawsuits
       from Maui to Maine.” At this point, we’re talking in circles. HuffPost is not
       a “grannie” with a passive “cooking blog.” It’s a publication. Of course,
       there must be some relatedness for personal jurisdiction. But there is, here.
       HuffPost is not accidentally found in Texas but is actively seeking Texas
       readers and, more importantly, the money from advertising to them. It
       benefits from its Texas readership through money made off of Texas-specific
       advertising; if it does so in Maui as well, so be it. It is not an accident that
       Texans can access HuffPost, and the approach HuffPost takes towards Texas
       is the modern equivalent of Keeton sending magazines to New Hampshire.
       This case does not involve the individual author or a “grannie” who talks
       virtually to her friends in other states.
              Finally, even if the majority opinion is correct that restricting personal
       jurisdiction would be beneficial as a policy matter, I do not believe that federal
       circuit judges are policymakers, and we certainly do not get to disregard
       precedent because we disagree with its policy implications. I recognize and



                                               28
   Case:
Case     21-20022    Document:
     4:21-cv-00608-ALM         00516143198
                        Document              Page: 29Page
                                  19-1 Filed 12/29/21   Date
                                                           30 Filed: 12/23/2021
                                                              of 30 PageID  #: 651



                                        No. 21-20022


       agree that federal courts are courts of limited jurisdiction. But as judges on
       this court, we must follow Supreme Court precedent and our own precedents
       under the rule of orderliness, whether we like them or not. See Jacobs v. Nat’l
       Drug Intell. Ctr., 548 F.3d 375, 378 (5th Cir. 2008) (“[E]ven if a panel’s
       interpretation of the law appears flawed, the rule of orderliness prevents a
       subsequent panel from declaring it void.”). Accordingly, we are bound to
       apply Ford Motor, Keeton, and Fielding. Based on the relevant precedent, I
       would vacate the district court’s dismissal and remand for further
       proceedings. Because the majority opinion fails to do so, I respectfully
       dissent.




                                             29
